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                Exhibit A
                    Complaint
      a                                      •;
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                                                                                               5/4/202010:24 AM
                                                                                               Steven D. Grierson
                                                                                               f^rwOFTHECOUM

             I]        COMP_ _ „ _ ^
                      RAMZY P.XADAU, ESQ.
              2       Nevada Bar No.' U 405
■                     CARL R. HOUSTON, ESQ
             :3       Nevada BarNo! 11161^                                                  CASE NO; A-26:8i4525-C
                      LADAH LAW FIRM
              4       517 S.‘Third Street                                                            Department j16
                 1    Las Vegas, NV 89101
              5       littgation@ladahlaw.com
                      ,1:702.252.0055
              6       F: 702.248.0055
                      Attorn^for Plaintiff
             ■7

              8                                                   DISTRICT COURT
I             9                                               CLARK county; NEVADA
a           10         ' CARL^ONGiqVAl^, individual;                          Case No.;
k
            11                                  [Plaintifr,                   Dept. No.:^
                                                              t


     iSIS   12
                 j
                                ivs:
                                                                              COMPLAINT
     !      13        I SAM^S WEST. iNC?dba SAM'S CLUB
                        #4983; a foreign corporation; DOES I through
            14        [XXX; inclusive and ROE BUSINESS
                      I ENTITIES I through XXX, inclusive,
i    r*     15
                                                ^Defendants.
    Sr.     16
              J
            17I
            ... i             CARLlBONGlbVANNI (“Plainlilf'X by i and "through his counsel of record, RAMZY
            18
                      PAUL LADAH' ESQ., and CARL HOUSTON^;ESQ^with the LADAH LAW FIRM, and for his
            19                                                                                                                 t
                      claims of relief a^inst Defendants, and each of them, alleges, amends and complains as follows:          1
            20
                                                                    JURISDICTION
            21
                 1            [!.■      At all times relevant hereto, PlairitifF^was and stilLis a t^^ident of Cl^k Coiuity,
            22   ;■


                      Nevada.
            23
                              2.        Upon ihfomiation and belief,^Defendaht SAM'S WEST JNCJ (“SAM'S.CLUB") ,a
            24
                      forei^ cbiporatibn,^was amd still i^a“compahy licewed to do busiriMs in the Stote ofNevada;
            25
                              3^        Tpt at all tiihes^relevant herein,^Defendants designated as DOES: I through XXX
■           26
                                     BUSINESS ENTITIES j/throughjXXX, in their true capacities,- wtefter, individual,
            27
                      “coiporatc, associate or otherwise "of the ^fendante named herein are unknown jlo Plaintiff who,
            28
*
                      2^80^
                          j




                                                       Case Number: A-20*8145Z5^
        B
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■

                1   therefore, sues said Defendants by said fictitious names; Plaintiff is informed, believes and thwebn

■
            12 alleges that each of the Defendants designated as a DOES ! throu^^XXX and ROE BUSINESS
            i
                3   ENTITIES 1 through XXX arereipdisibie in iome manner for thFevehts wd ha^ehin^ refereed
                                                                                                                              \
                A   to hireih.’^d caused damagespfbximately to Plaintiff as hefeih alleged; and Plaintiff will ask leave
                                                                                                                              r
            iS      of this jebuh to arn^d this Complaint to ihs^ert the tfueloam^ and capacities         DOES I through
B
            f6      XXX ai^ ROE BUSINESS ENTITIES I through XXX,\when the ^m^ have been ascertained and
                7   to join such Defdidants in this action.
                8                                        GENERAL ALLEGATIONS
                                4.    Plaintiff repeats and realleges each and every, fact and allegation contained in this
            10      Complaint and incorporates the same herein by reference as though &lly set forth herein verbatim.
            11                  '5.   At all times relevant hereto, particularly on or about August 16; 2018, Defendants,
    %       -
                    and each of them, either owned,*managed,!controlled, maintained, or in some other, way was in
            13      charge of the food and drinks sold within their premises, located at 7100 Arroyo Crossing Pkwy, in
                    »       '                                         -                              ...
            14      Clark County,’Nevada (“subject premises”).
            15                  6.    At all times relevant hereto, Defendants were'the a^ts, servants; and employees of
            16      each and every.othef Defendant and were "acting within the ebur^and ^^e of said ei^l6;^eht
            17      and agency.
            18                  i7.   At^all times rele^nt hereto, Defend^ts w^ the [b^emj operatbrs, .^wagers,
            19      cbhtrbll^, in^iectbii, ?upefvisors and controllers of the subject premises arid of Ae common areas
                                                                                                                              \
            20      of the~subject premises.-
            21                  8.                relevant hereto. Plaintiff w^ an invitee and guest of Defendants and was
            22      jeg^iy upon its premiises.
            23                  ao.    At ail.times rdevant hereto. Plaintiff' who .was a business Invitee at the subject
            24      premises, purchased packaged beef from Defendants and/or its agents within Defendants’, premises.
            25      Defendants and/or its agent advertikd the packaged beef as safe to eat and sold the beef to Plaintiff
«           26      for consumption .(“subject beef’). 'Upon consuming the beef (once cooked) a day later. Plaintiff
            27      immediately felt ill., Plaintiff presented to the hospital wherein he learned he suffered sedous food
                                                                                                                              1
            28      poisoning due to salmonella. Plaintiff soon "thereafter learned there was a recall by Defendants for
                                                                       2                                                      t
     c                         (
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It
                  1   the,unsafe.beef sold al;its stores. Plaintiff suffered serious,and substantial,injuries that required
                  2   immediate and subsequent medical mtention., Plaintiffs injuries are a direct and proximate result of
                  3   Defendants’{negligence regarding the handling of the;subject 1 beef, including the purchasing,
                  4   inspecting, marketing and selling of the subject beef to Plaintiff.                              r
■                 5          |U.,      At all times relevant hereto,,Defendants and their employee(s) failed to provide
s

                  6 ^oducts fo7 consumption that'were not T dangerous aiid/of hazardous it^ fbiTthe pu                and its
                  7   invit^ygi^ts to consume!,                                                                             I
                  8                                       rrnST CAUSE OF ACTION
                                                                 (Negligence)
I                ,9
                                                                                                                                    /
                 10                    Plaintiff repeats and realleges every fact and allega^n conteined in this Complaint              i
                 11 ^d incorporates the same herein by reference as feou^ felly set forth Wein verbatim.

         a
         «
                 12          il3.i     At all times r^evantliercto, the Defendants, and each of them, were in control of fee
                                                                                                   '•   *

                 13 subject premises and had:a duty.that inciudes purchasing, inspecting, marketing mid selling safe
                                                                                                                            1



         H'
                 14 product consumers like Plaintiff

         I   ;   15          \ 14]     At all times relevant hereto. Defendants, and each of them, breached their duty in fee
                 16 purchasing, i inspecting; marketing and' selling: of, the; subject' beef i to unsuspecting i consumers,
                 17 including Plaintiff.                                                                                    ^
                             I
                 18              15:   Because of Defendants’^aforesaid negligent actions and/or failures,to act. Plaintiff
                 19 was injured in his health; strength and activity, sustaining shock and injury to his bbdy^d person;
                                                                                                                                L
                 20 all' of ^ich have cauMd, and will | continuTto cause,'fee Plaintiff physical; mental, and neiVous
                 21 painand suffering
                 22                    Because of Defendants* [aforesaid negligent actions and/or failures to act, Plaintiff
                 23 incurred expenses for medical care and treatment,^ expenses incidental feereto. loss wages and loss                 J
                 24 of earning capadty; all! to [PlaintifTs damage, [the [ present amount of wfech js' unknown; but
I
I                25 curTentfy exceeds $15.o6o.6o.^Such expenses md fosses willcqntin^ in fee feture, all to Plaintiffs
                 26 damage ^ a presenUy, unascertamable amount. i Plaintiff consequently prays for leave of Court to
                 27 insert ail said Simages herein when the same are felly ascertained.
                 28
                                                                       ■:3
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         1            17.           Because of Defendants’ aforesaid negligent actions, it has been necessary for
         2    Plaintiff to retain LADAH LAW FIRM to prosecute this action, and PlaintilT is entitled to recover
         3*   reasonable attorneys' fees and costs.
         4                                          SECOND CAUSE OF ACTION
                                    (Negligent Hiring, Training, Supervision and Policies/Proccdurcs)
         S
         6            18.           Plaintiff repeats and reallege every fact and allegation contained in this Complaint
         7    and incorporates the same herein by reference as though fully set forth herein verbatim.
         8           19.            Defendants, and each of them, acted negligently, among other reasons in failing to
         9    do the following:
        10                     ].          Establish and implement proper policies and procedures for employees, staff
        11                                 and agents working for Defendants;

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        12
        13
                              11.          Establish and implement property policies and procedures for proper
                                           purchasing, inspecting, mariceting and selling of safe products;
        14                   111.          Establish and implement property policies and procedures for warning

1       15
        16
                                           patrons, or otherwise warning such patrons, of potentially dangerous and/or
                                           harmful products
        17                   IV.           Properly, responsibly and prudently hire employees;
        18                    V.           Properly, responsibly and prudently investigate employees before hiring
        19                                 them;
        20                   VI.           Properly, responsibly and prudently supervise and/or manage employees once
        21                                 they were hired;
        22                  vii.           Properly, responsibly and prudently train employees or instruct them as to
        23                                 their corresponding duties;
        24                  vjii.          Properly, responsibly and prudently monitor and regulate the conduct of
        25                                 employees;
        26                   IX.           Properly, responsibly and prudently delegate maintenance responsibilities to
        27                                 employees, agents. DOE Defendants or ROE BUSINESS ENTITIES;
        28
                                                                     4
c   ■                                 n
                         Case 2:20-cv-01122-GMN-EJY Document 1-2 Filed 06/19/20 Page 6 of 8
           «




                              1                       x.           Properly, I responsibly, and prudently set up mechanisms to ensure that all
                             12                                    areas are reasonably kept in proper and safe conditions.
n
                             ^3                 23.        Because of Defendanis* i aforesaid negligent actions and/or failures !to acVPlaintiff
I
                              4 was injured in his health, strength anid activity,'sustaining shock and injury to his body and person,'
                             !S all of^which have caused, and wiU'continue to cause,;the Plainhff ph>^ical; mental, and nervous
M                            |6 pain and suffering.'
                                       __ I                  ..                              »



                              7                 24.        B^ausc of Defendants’i ^dresaid negligent actions ahd/or failures to act. Plaintiff
                                              ________ ;     .......____________ _________ '_____________________________________________________ *

■
                             18                                                 care and treatment, expense incidental thereto/loss^wages and
t                             9 loss of e^ing capacity, lair to ^PlaintifFs damage, .the present amount of which is unknown, but
                             10 currently exceeds $15,000.00. j Such expenses and losses will (wntinue in the &ture, rfl to Pjaintiff s
                             11 damagejn a prwently unascertainaMe ^ount. ;in this regard,* Plaintiff prays for leave of Court to
4
        3s                   12 insert all said Samages herein when toe same are fully ascertmned.                                                    I


■       m                    13                 25.        As'a result of Defendants’ afores^ negligentiactions, it has .been'ne^ss^.for

                r
                             14         Plainti^ to retain LaDAH LAW FIRM to prosecute this action, and Plaintiff is entitled to recover
                             15 reasonable attorneys'fees and costs.
        TTt.i
                    *j       16                                                THIRD CAUSE OF ACTION
                                                                                [(Strict Product Liability)                                       i
                             17I
                             18                 26.        Plaintiff repeats and realleges every fact and allegation contained in this Complaint
■                                 !■
                                       and incorporates the same'herein by reference as tbougfi filly set forth herein verbatim.                  !
                             19                                                                                                                           (
                                                                                                                                                          f
                                                20.        M ^all times relevant thereto,’ -Defendants»and/or its i agents produced, a [product
                             20                                                                                                                           R




                         .21           (packaged beef) which was defective by having salmonella within the product
                                                                                                                                                          t

                         :22                    21.        That tsuch "defect I in Defendants’ product] ,was unreasonably dangerous, and
                         I


                         [23           Defendants did not have ai^ warning signs given to Plaintiff or other meinbers of the public that
                                       such product provided is, or would, be dangerous.
                                                22.        That such defect existed when it left Defendants and/orJts agents possession and
                         ]25,
                                       I ,                                                       C
                         \u            given to Plaintiff for consumption.
                                                23.        'I'hat the subject beef was consumed by Plaiiititf in a reasonably foreseeable manner
                         L27
                                       as ihtCTded by Defendants ahd/dr its agents when Defendants and/or its ageiits created such product.
                         L18_,
                 i
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                     1          |24.    That'the defect within,the product was the direct, actual, and proximate cause of
r
m                    2   Plaintitfs injuries when Plaintiff consumed the subject beef.
                     3          !25.,   -As a result of Defend^tsitid/of its a^ts'defectiw product; Plaintiff       injured in
                                                                                                                                 I
                     4   his health, strength pid Fetivity; Staining shock and injuj^ to his bod>rMd person, all of which
S
I
                     s   ha^i caused, and Twill cratinue      [cau^, the Plaintiff ph^ical; mentol, and^n^^ouis pun and
                                                                                                                                 f
                     6   siiffOThg;

                     7                  As a result of Defendant's and/or itejigente ^fectjve product. Plaintiff has incurred
                     8 expenses for medical care and treatment, expenses incidental thereto, iost wages and loss of earriing
                     9 capacity, ail to Plaintiffs damage, the present amount of which is unknown but currently exceeds
                 10 $15,000.00. SuchVexpenses and losses wiil'continue in Tthe future, all lb Plaintiffs damage In a
        i        11 presently unasceitainable amount. Jn this regard,'Plaintiff prays for leave of Court to insert all said

        ihrjpd
          :27
                 12 damages herein when the same are fully ascertained
                 13             121.,
                                                                             • f



                                        Because of Defendants*! and/or its agents regarding the defective product, it has been
    I
                 14 necessa^ for Plaintiff^to retain LADAH LAW fIRM'to prosecute this action,land Plaintiff is
                 IS entitled to recover reasonable attorneys’ fees and costs:
                 16      ///'

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      1       WHEREFORE, Plainti ITprays for judgment against the Defendants as follows:
      2       1.    For general damages and loss in an amount in excess of fifteen thousand dollars
      3              (515,000.00);
      4       2.    For special damages in an amount to be determined at time of trial;
      5       3.    For economic damages in an amount to be determined at time of trial;
      6       4.    For prejudgment interest, reasonable attorney's fees and costs; and
      7       5.    For such other and further relief as the Court may deem just and proper.
      8       DATBD this 1st day of May, 2020.
      9                                                  LADAH LAW FIRM
     10                                                  fsf Carl K, Houston, Esq.
     11                                                  RAMZY PAUL LADAH, ESQ.
                                                         Nevada Bar No. 11405
3*   12                                                  CARL R. HOUSTON, ESQ
                                                         Nevada Bar No. 11161
     13                                                  517 S. Third Street
                                                         Las Vegas, NV 89101
     14                                                  Attorneys for Plaintiff
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     16
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